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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  FT. MYERS DIVISION

LUELLAN FRENCH,

       Plaintiff,

-vs-                                                  Case No.: 2:15-cv-00680-SPC-CM

DISCOVER CARD SERVICES, INC.,

       Defendant.
                                      /

                           NOTICE OF PENDING SETTLEMENT

        Plaintiff, LUELLA FRENCH, by and through her undersigned counsel, hereby submits

this Notice of Pending Settlement and states that Plaintiff and Defendant DISCOVER CARD

SERVICES, INC. have reached a settlement with regard to this case and are presently drafting,

finalizing and executing the settlement and dismissal documents. Upon execution of the same,

the parties will file the appropriate dismissal documents with the Court.

        Dated this 5th day of February, 2016.

        Respectfully submitted,

                                                /s/ Octavio Gomez
                                                 Octavio Gomez, Esquire
                                                 Morgan & Morgan, Tampa, P.A.
                                                 One Tampa City Center
                                                 201 N. Franklin Street, 7th Floor
                                                 Tampa, FL 33602
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                                                 Florida Bar #: 0338620
                                                 Attorney for Plaintiff




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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 5th day of February, 2016, I caused a copy of the

foregoing to be electronically filed with the Clerk of the District Court using the CM/ECF

system, which will provide electronic notice of the filing to all counsel of record.


                                               /s/ Octavio Gomez
                                                Octavio Gomez, Esquire
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                                                Florida Bar #: 0338620
                                                Attorney for Plaintiff
